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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


_________________________________
                                )
UNITED STATES OF AMERICA        )
                                )
v.                              )               CRIMINAL NO. 1:23-cr-10039-DJC
                                )
JOHN SULLIVAN,                  )
     Defendant                  )

    ASSENTED TO MOTION FOR LEAVE TO FILE EMERGENCY MOTION FOR
                      FURLOUGH UNDER SEAL

      Now comes the Defendant, John Sullivan, by and through his Counsel in the

above-referenced criminal indictment and respectfully requests this Honorable Court

allow him to file his Motion for Emergency Furlough under seal.

      In support of this motion, the Motion contains personal information relating to the

Defendant. Public disclosure of this information would violate the Defendant’s privacy

rights. The Government indicates their assent to this motion and exhibits under seal.

      WHEREFORE, the Defendant moves this Honorable Court to Allow his motion.

                                                Respectfully submitted,
DATE: January 26, 2025                          John Sullivan
                                                By his attorney,

                                                /s/ Jeffrey Miller
                                                Jeffrey Miller, Esq.
                                                60 Leo Birmingham Pkwy., Ste. 103
                                                Boston, MA 02135
                                                BBO # 670561
                                                (617) 482-5799
                                                jmiller@millercriminaldefense.com
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                               CERTIFICATE OF SERVICE

I, Jeffrey Miller, hereby certify that this document, filed through the ECF System, will be
electronically sent to the registered participants as identified on the Notice of Electronic
Filing (NEF), and that papers will be sent to all non-registered participants who have
appeared in this case.

                                                  /s/ Jeffrey Miller
                                                  Jeffrey Miller




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